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                                UNITED STATES DISTRICT COURT
                                  W ESTERN DISTRICT OF W ASHINGTON
                                     UNITED STATES COURTHOUSE
                                        700 STEWART STREET
                                     SEATTLE, W ASHINGTON 98101



ROBERT S. LASNIK
  DISTRICT JUDGE



                                         March 29, 2021



    Jaime Drozd Allen                              Mark S. Leen
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   Delivered Via CM/ECF

          RE:      Insomniac Holdings, LLC v. Conscious Entertainment Group, LLC,
                   et al. (C20-137-RSL)
                   Proposed Stipulated Protective Order



   Dear Ms. Allen, Ms. Campbell, and Mr. Leen:

   On March 19, 2021, the Court received your proposed “Stipulated Protective Order.” Dkt.
   # 65.

   Pursuant to Fed. R. Civ. P. 26(c), protective orders may be entered to protect parties from
   annoyance, embarrassment, oppression, or undue burden or expense, including protecting
   confidential commercial information. Such protective orders may issue upon a showing of
   good cause.

   Although parties may agree on confidentiality among themselves, when they request that
   the Court be involved, the proposed order must be narrowly drawn, identifying both the
   type of information that is to be protected and, if not obvious, the reason such protection
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is warranted. The order must also comply with the applicable federal and local procedural
rules.

The agreed protective order submitted in this case is deficient because the “confidential”
material designation lacks clarity. Paragraph 2.2 of the proposed protective order states as
follows:

       “Confidential” material shall include the following documents and tangible
       things produced or otherwise exchanged: Materials reflecting potentially
       sensitive personal identifying information, include but not are not limited to
       dates of birth, social security numbers, phones numbers [sic], employment
       histories, credit card information, and materials reflecting a party’s non-
       public financial or other non-public information.

Dkt. # 65 at 2 (emphasis added). The parties may have intended the phrase “include but
not are not” to read “including but not,” but the Court will not adopt a stipulated
protective order based on its speculation as to the parties’ intent. Additionally, the last set
of materials referenced in paragraph 2.2, “materials reflecting a party’s . . . non-public
information,” appears to expand the category of materials at issue. Non-public
information is an excessively broad descriptor, and if a party’s “non-public information”
qualifies as “[m]aterials reflecting potentially sensitive personal identifying information,”
this imposes virtually no limit on what documents could be shielded from public view.

The agreed protective order received by the Court will remain lodged in the file, but will
not be entered. The parties may resubmit a proposed order if they remedy the deficiencies
identified in this letter.



                                            Sincerely,




                                            Robert S. Lasnik
                                            United States District Judge
